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      Attorneys for Specially Appearing Defendants
 6    Chicken Soup for the Soul Entertainment, Inc. and
      TOFG, LLC d/b/a 1091
 7

 8
                           UNITED STATES DISTRICT COURT
 9
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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11                                                   Case No.: 3:23-cv-02518-JD
     DUSTIN NEFF, an individual
12                                                   The Honorable James Donato
                       Plaintiff,
13
     v.                                      SUGGESTION OF CHAPTER
14                                           11 BANKRUPTCY BY
     SBA ENTERTAINMENT, LLC, a Colorado      DEFENDANTS CHICKEN
15   Limited Liability Company; GOOD         SOUP FOR THE SOUL
     ENTERPRISE SOLUTIONS INC., a Colorado ENTERTAINMENT, INC.
16   Corporation; CHICKEN SOUP FOR THE       AND TOFG LLC D/B/A 1091
     SOUL ENTERTAINMENT, INC., a Delaware
17   Corporation; TOFG, LLC d/b/a 1091, a
     Delaware Limited Liability Company; and
18   DOES 1-10, Inclusive,
19                     Defendants;
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 1         TO THE HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS
 2   OF RECORD:
 3         PLEASE TAKE NOTICE that on June 28, 2024, Defendants Chicken Soup For
 4   The Soul Entertainment, Inc. (“CSSE”) and TOFG, LLC d/b/a 1091 (“TOFG”) appear
 5   to have filed a Petition for Bankruptcy in the United States Bankruptcy Court for the
 6   District of Delaware. A true and correct copy of a related filing is attached hereto as
 7   Exhibit A. Pursuant to Section 362 of the United States Bankruptcy Code, this case
 8   would be automatically stayed once CSSE and TOFG filed the bankruptcy petition.
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11   Dated: July 1, 2024                     COZEN O’CONNOR
12                                           Nathan Dooley
13                                           By: s/Nathan Dooley
                                                  Nathan Dooley
14

15                                           Attorneys for Specially Appearing
                                             Defendants Chicken Soup for the Soul
16                                           Entertainment, Inc. and TOFG, LLC d/b/a
                                             1091
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 1                              CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies, under penalty of perjury under the laws of the
 3   State of California that I electronically filed the foregoing document with the Clerk of
 4   the Court using the CM/ECF system which will send notification of such filing to the
 5   following:
 6

 7   Scott Alan Burroughs                         Valerie Yanaros
     Frank R. Trechsel                            Yanaros Law, P.C. Texas
 8   DONIGER / BURROUGHS                          8300 Douglas Ave., Ste 800
     603 Rose Avenue                              Dallas, TX 75225
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     Telephone: (310) 590-1820                    Email: valerie@yanaroslaw.com
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            ftrechsel@donigerlawfirm.com          Attorneys for Defendant           Goode
11                                                Enterprise Solutions Inc.
     Attorneys for Plaintiff Dustin Neff
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16                                          s/Nathan Dooley
                                                Nathan Dooley
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